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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                CORPUS CHRISTI DIVISION


UNITED STATES OF AMERICA,                        §
                                                 §
        Plaintiff,                               §
VS.                                              §   CRIMINAL ACTION NO. C-07-398-6
                                                 §
ROLANDO NORIEGA,                                 §
                                                 §
        Defendant.                               §


      MEMORANDUM OPINION AND ORDER OF DETENTION PENDING TRIAL


       A detention hearing has been held in accordance with the Bail Reform Act, 18 U.S.C. §

3142(f). The following requires detention of the defendant pending trial in this case:

       (1)     There is probable cause to believe the defendant committed an offense for which

a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. §

841(b)(1)(A); and

       (2)     The defendant has not rebutted the presumption that no condition or combination

of conditions will reasonably assure the appearance of the defendant as required and the safety of

the community.

       The evidence against the defendant meets the probable cause standard. The findings and

conclusions contained in the Pretrial Services Report are adopted. The defendant has family ties

to Mexico, and he has failed to produce a co-surety and third party custodian sufficient to

address the risk of flight. The issue of detention may be reconsidered if the defendant can

produce a co-surety owning significant non-exempt assets.

       The defendant is committed to the custody of the Attorney General or his designated


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representative for confinement in a corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody pending appeal. The defendant

shall be afforded a reasonable opportunity for private consultation with defense counsel. On

order of a court of the United States or on request of an attorney for the Government, the person

in charge of the corrections facility shall deliver the defendant to the United States marshal for

the purpose of an appearance in connection with a court proceeding.

       ORDERED this 17th day of September, 2007.




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